
724 S.E.2d 530 (2012)
STATE of North Carolina
v.
Kevin BRANCH.
No. 27P12.
Supreme Court of North Carolina.
April 12, 2012.
J. Edward Yeager, Jr., for Branch, Kevin.
Harriett F. Worley, Assistant Attorney General, for State of North Carolina.
C. Colon Willoughby, Jr., District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 23rd of January 2012 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 12th of April 2012."
Upon consideration of the alternative petition filed by Defendant on the 23rd of January 2012 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was *531 entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 12th of April 2012."
